                   Case 2:21-cv-03560-AB-AS Document 1 Filed 04/26/21 Page 1 of 15 Page ID #:1




                    1 LEWIS BRISBOIS BISGAARD & SMITH LLP
                      CHRISTOPHER J. BAKES, SB# 99266
                    2   E-Mail: Christopher.Bakes@lewisbrisbois.com
                      2020 West El Camino Avenue, Suite 700
                    3 Sacramento, California 95833
                      Telephone: 916.564.5400
                    4 Facsimile: 916.564.5444
                    5 LEWIS BRISBOIS BISGAARD & SMITH LLP
                      BRYAN P. SUGAR (pro hac vice pending)
                    6   E-Mail: Bryan.Sugar@lewisbrisbois.com
                      550 West Adams Street, Suite 300
                    7 Chicago, Illinois 60661
                      Telephone: 312.345.1718
                    8 Facsimile: 312.345.1778
                    9 LEWIS BRISBOIS BISGAARD & SMITH LLP
                      WILLIAM W. MAUKE (pro hac vice pending)
                   10   E-Mail: William.Mauke@lewisbrisbois.com
                      1700 Lincoln Street, Suite 4000
                   11 Denver, Colorado 80203
                      Telephone: 303.861.7760
                   12 Facsimile: 303.861.7767
                   13 Attorneys for Plaintiff PANDA RESTAURANT
                        GROUP, INC.
                   14
                                                         UNITED STATES DISTRICT COURT
                   15
                                           CENTRAL DISTRICT OF CALIFORNIA, WESTERN DIVISION
                   16
                   17
                      PANDA RESTAURANT GROUP, INC., a                       Case No. 2:21-cv-3560
                   18 California Corporation,
                                                                            COMPLAINT; JURY TRIAL
                   19                       Plaintiff,                      DEMANDED

                   20             vs.

                   21 ENYMEDIA, INC,, a New York Corporation
                   22                       Defendant.

                   23
                   24                                              COMPLAINT

                   25            Plaintiff Panda Restaurant Group, Inc. (“Panda” or “Plaintiff”) states the following for its

                   26 Complaint against Defendant Enymedia, Inc. (“Defendant”):
                   27 / / /

LEWIS              28 / / /
BRISBOIS
BISGAARD                4837-0163-7863.1
& SMITH LLP
ATTORNEYS AT LAW                                                      Complaint
                   Case 2:21-cv-03560-AB-AS Document 1 Filed 04/26/21 Page 2 of 15 Page ID #:2




                    1                                         NATURE OF THE ACTION

                    2            1.        This is a civil action arising under the United States Trademark Act of 1946, as

                    3 amended, 15 U.S.C. § 1051, et seq. (“Lanham Act”) for cybersquatting under the
                    4 Anticybersquatting Consumer Protection Act (“ACPA”), 15 U.S.C. § 1125 et seq.
                    5                                                   PARTIES

                    6            2.        Plaintiff, Panda Restaurant Group, Inc., is a corporation organized under the laws of

                    7 California with its principal place of business in 1683 Walnut Grove Ave., Rosemead, California
                    8 91770. Panda regularly provides restaurant services in this District.
                    9            3.        Defendant, Enymedia, Inc., is a New York Corporation conducting business at 17 E

                   10 Broadway, Suite 302, New York, NY 10002. Defendant is the owner of a number of domain names
                   11 that it uses in connection with restaurant services that include the term PANDA .
                   12                                       JURISDICTION AND VENUE

                   13            4.        This action arises under 15 U.S.C. §§ 1114 and 1125(d). This Court has subject

                   14 matter jurisdiction over this claim pursuant to 28 U.S.C. § 1331 (federal question), 15 U.S.C. § 1121
                   15 (Lanham Act claims), and 28 U.S.C. § 1332(a)(1) as this action is between citizens of different states
                   16 and the amount in controversy exceeds $75,000, exclusive of interest and costs.
                   17            5.        This Court may exercise personal jurisdiction over Defendant under the California

                   18 Long-Arm Statute, because the Defendant is transacting business in California and caused an injury
                   19 in this state by marketing and providing interactive websites that are available to consumers in this
                   20 state which use the PANDA Marks.
                   21            6.        Venue is proper in this District pursuant to 28 U.S.C. § 1391(b)(2) because (a) a

                   22 substantial part of the events and omissions giving rise to this claim occurred here; and (b) the
                   23 Defendant is subject to personal jurisdiction here. Further, Defendant has committed acts of
                   24 cybersquatting in this District, and has caused injury in this district.
                   25                                                    FACTS

                   26 Panda’s IP Rights
                   27            7.        Panda is the recognized world leader in Asian dining experiences and has been using

LEWIS              28 a suite of trademarks in connection with restaurant services since at least as early as July 12, 1973,
BRISBOIS
BISGAARD
& SMITH LLP
                        4837-0163-7863.1                                     2
ATTORNEYS AT LAW                                                         Complaint
                   Case 2:21-cv-03560-AB-AS Document 1 Filed 04/26/21 Page 3 of 15 Page ID #:3




                    1 when it opened its first restaurant in Pasadena, California. Panda later opened a fast-casual version
                    2 of its restaurant in 1983, which has blossomed into the largest Asian-American restaurant chain in
                    3 the United States. Indeed, with over 2200 restaurants and over $3 billion in sales, Panda has
                    4 established enormous goodwill with the consuming public by providing gourmet Chinese food in a
                    5 fast, casual environment over decades.
                    6            8.        Panda owns several federally registered trademarks for the PANDA mark for use in

                    7 connection with restaurant services. These include the following United States Trademark
                    8 Registrations:
                    9                  Mark               Date Filed         Date    Registration          Date of First
                                                                          Registered  Number                   Use
                   10
                         PANDA INN                          8/19/1985      2/16/1988   1477152              7/12/1973
                   11
                         PANDA EXPRESS                      8/19/1985      12/13/1988       1516769          10/31/1983
                   12
                                                            12/9/1988       9/5/1989        1555279          7/12/1973
                   13
                   14
                   15
                   16
                                                            12/9/1988      12/22/1992       1741866          10/31/1983
                   17
                   18
                   19
                   20
                   21
                         PANDA PANDA                        12/4/1991       8/18/1992       1709012          4/13/1987
                   22
                         PANDA CAFÉ                         6/18/1992       8/31/1993       1791085          7/10/1992
                   23
                         PANDA EXPRESS                      6/12/1995       8/6/1996        1991081          10/31/1983
                   24
                   25
                   26
                   27

LEWIS              28
BRISBOIS
BISGAARD
& SMITH LLP
                        4837-0163-7863.1                                   3
ATTORNEYS AT LAW                                                        Complaint
                   Case 2:21-cv-03560-AB-AS Document 1 Filed 04/26/21 Page 4 of 15 Page ID #:4




                    1                           6/19/1995      11/26/1996   2018848      10/31/1983
                    2
                    3
                    4
                    5
                    6
                    7                  Mark    Date Filed        Date    Registration   Date of First
                    8                                         Registered  Number            Use
                                                3/18/1999      4/11/2000   2340784       11/19/1987
                    9
                   10
                   11
                   12
                   13    PANDA                  11/12/1999     10/30/2001   2501422       7/12/1973
                   14    GREAT PANDA            3/18/1999       2/29/2000   2324276      11/19/1987
                   15                           5/17/1999       2/20/2001   2430444      11/10/1999
                   16
                   17
                   18
                   19
                   20
                   21    PANDA MANIA            7/27/2000      12/25/2001   2522086       7/12/1973
                   22    PANDA KIDS             11/30/2000     12/17/2002   2661675      10/22/2000
                   23
                   24
                   25
                   26
                   27

LEWIS              28
BRISBOIS
BISGAARD
& SMITH LLP
                        4837-0163-7863.1                       4
ATTORNEYS AT LAW                                            Complaint
                   Case 2:21-cv-03560-AB-AS Document 1 Filed 04/26/21 Page 5 of 15 Page ID #:5




                    1                  Mark    Date Filed       Date     Registration   Date of First
                                                              Registered  Number            Use
                    2
                                                4/12/2002      7/1/2003    2731601       3/24/2002
                    3
                    4
                    5
                    6
                    7
                    8
                                                12/19/2005     12/19/2006   3186491      11/13/2005
                    9
                   10
                   11
                   12
                   13                           12/19/2005      3/3/2009    3584722       7/15/2008
                   14
                   15
                   16
                   17
                   18    EXPERIENCE             12/1/2008       6/23/2009   3643299       3/20/2008
                   19    PANDAMONIUM
                   20    EXPERIENCE             12/1/2008       9/1/2009    3675687        2/2008
                   21    PANDAMONIUM
                   22                           11/30/2012      8/6/2013    4379316       3/11/2011
                   23
                   24
                   25
                   26
                   27

LEWIS              28
BRISBOIS
BISGAARD
& SMITH LLP
                        4837-0163-7863.1                       5
ATTORNEYS AT LAW                                            Complaint
                   Case 2:21-cv-03560-AB-AS Document 1 Filed 04/26/21 Page 6 of 15 Page ID #:6




                    1                  Mark    Date Filed    Date     Registration     Date of First
                                                           Registered  Number              Use
                    2
                                                11/30/2012  4/8/2014    4511842           8/2013
                    3
                    4
                    5
                    6
                                                10/16/2014       8/18/2015   483470        7/2014
                    7
                    8
                    9
                   10
                   11    ASIAN EATERY            12/5/2014      12/15/2015   4871876      9/1/2015
                         BY PANDA
                   12    EXPRESS
                   13
                                                9/18/2014        11/3/2015   484767      10/3/2014
                   14
                   15
                   16
                   17
                   18                           10/13/2014      12/22/2015   4876079      7/2/2014

                   19
                   20
                   21
                   22
                   23
                   24
                   25
                   26
                   27

LEWIS              28
BRISBOIS
BISGAARD
& SMITH LLP
                        4837-0163-7863.1                        6
ATTORNEYS AT LAW                                             Complaint
                   Case 2:21-cv-03560-AB-AS Document 1 Filed 04/26/21 Page 7 of 15 Page ID #:7




                    1                  Mark    Date Filed        Date    Registration   Date of First
                                                              Registered  Number            Use
                    2
                                               10/13/2014     11/28/2017  5346606        9/1/2016
                    3
                    4
                    5
                    6
                                                10/16/2014      8/18/2015   4793470        7/2014
                    7
                    8
                    9
                   10
                   11
                   12                           10/13/2014      7/19/2016   5005155       7/2/2014

                   13
                   14
                   15
                   16
                   17                           10/13/2014      7/19/2016   5005166       8/11/2014
                   18
                   19
                   20                            8/4/2016       2/21/2017   5146748       6/1/2015
                   21
                   22
                   23
                         PANDA KITCHEN          6/25/2014       1/9/2018    5375577      10/17/2017
                   24
                                                10/13/2014      6/12/2018   5492446       7/2/2014
                   25
                   26
                   27

LEWIS              28
BRISBOIS
BISGAARD
& SMITH LLP
                        4837-0163-7863.1                       7
ATTORNEYS AT LAW                                            Complaint
                   Case 2:21-cv-03560-AB-AS Document 1 Filed 04/26/21 Page 8 of 15 Page ID #:8




                    1                  Mark    Date Filed        Date    Registration   Date of First
                                                              Registered  Number            Use
                    2
                                                12/5/2017      8/15/2018   5539329       08/28/2017
                    3
                    4
                    5
                    6
                    7
                    8
                    9
                                                12/5/2017       8/14/2018   5539330       8/28/2017
                   10
                   11
                   12
                         PANDA                  5/31/2019      12/17/2019   5937298       7/12/1973
                   13
                                                 7/5/2019      12/24/2019   5944199        7/2014
                   14
                   15
                   16
                   17
                   18
                   19    PANDA GRAB & GO        10/21/2019      6/2/2020    6067842       4/22/2019
                   20    HOW TO PANDA           2/13/2020       8/25/2020   6136162       1/1/2020
                   21    PANDA PROMISE           3/3/2020       9/1/2020    6141928       3/3/2020
                   22    PANDA EXPRESS          3/17/2020       9/29/2020   6163840      10/31/1983
                   23    PANDA RE-              5/18/2020      11/17/2020   6200487       5/14/2020
                   24    IMAGINED
                   25    PANDA EXPRESSED        5/13/2020      11/17/2020   6200467       6/28/2018
                   26
                   27

LEWIS              28
BRISBOIS
BISGAARD
& SMITH LLP
                        4837-0163-7863.1                       8
ATTORNEYS AT LAW                                            Complaint
                   Case 2:21-cv-03560-AB-AS Document 1 Filed 04/26/21 Page 9 of 15 Page ID #:9




                    1            9.        The marks above which each incorporate the word “PANDA” (collectively, the

                    2 “PANDA Marks”) are valid and subsisting trademarks, and many are incontestable under 15 U.S.C.
                    3 § 1065.
                    4            10.       Since at least as early as July 12, 1973, PANDA has continuously used, advertised,

                    5 offered for sale, and/or sold, in interstate commerce, Panda’s services under the PANDA Marks
                    6 throughout the United States through its numerous retail locations.
                    7            11.       Panda has expended considerable resources to build the goodwill associated with the

                    8 PANDA Marks in connection with restaurant services.
                    9            12.       Panda promotes its restaurant services offered under the PANDA Marks at the

                   10 websites located at numerous domain names that incorporate its PANDA Marks, including but not
                   11 limited to, pandaexpress.com, pandainn.com, getpandanow.com, gopandanow.com, panda-
                   12 now.com, orderpanda.com, panda-asian-cafe.com, pandaasiancuisinenj.com, pandalibre.com,
                   13 panda-cafe.com,            panda-restaurant.com,       panda-takeout.com,      pandaexpresschina.com,

                   14 pandatakeoutonline.com, and pandaexpress.kitchen (the “Panda Domains”).
                   15            13.       Panda also owns a number of copyrights in works that it has created in connection

                   16 with its promotion of the PANDA Marks that have appeared on nationally advertised campaigns for
                   17 Panda’s restaurant services. The works depict various artistic interpretations of panda bears
                   18 including the following:
                   19
                   20
                   21
                   22
                   23
                   24
                   25
                   26
                   27

LEWIS              28
BRISBOIS
BISGAARD
& SMITH LLP
                        4837-0163-7863.1                                    9
ATTORNEYS AT LAW                                                         Complaint
                   Case 2:21-cv-03560-AB-AS Document 1 Filed 04/26/21 Page 10 of 15 Page ID #:10




                     1 Panda has registered each of the artistic works (the “Panda Copyrights”) with the U.S. Copyright
                     2 Office. Copies of the Panda Copyright registrations with the United States Copyright Office are
                     3 attached hereto as Exhibit A.
                     4            14.       The Panda Copyrights appear on the Panda Websites, in print marketing materials,

                     5 through other digital marketing campaigns, on television advertising, and in a number of other
                     6 advertisements promoting Panda’s restaurant services.
                     7 Defendant’s Cybersquatting and Copyright Infringement
                     8            15.       Defendant specializes in digital marketing for restaurants, and has registered

                     9 numerous domain names that contain the word “PANDA” to be utilized in connection with Chinese
                    10 restaurants. In light of the fame of the PANDA Marks, the geographic spread of Panda’s restaurant
                    11 locations, and Panda’s strong online presence, Defendant had actual notice of the PANDA Marks
                    12 in connection with restaurant services prior to registering the following domain names:
                    13 pandatogo.com, a8panda.com, chinapandatn.com, newpandakitchen.com, pandagourmet.com,
                    14 pandahouseus.com, pandapalacebuffet.com,              uspandagarden.com, and uspandagarden2.com

                    15 (collectively, the “Infringing Domains”). Defendant also had constructive notice of the PANDA
                    16 Marks as a result of its numerous trademark registrations with the United States Patent and
                    17 Trademark Office.
                    18            16.       The WHOIS report for each of the Infringing Domains is attached hereto as Exhibit

                    19 B.
                    20            17.       Defendant has been diverting business away from Panda since it began operations as

                    21 a digital marketing agency for restaurants and registered the Infringing Domains. Defendant directs
                    22 the Infringing Domains to competing Chinese restaurants to confuse consumers into believing
                    23 Defendant and its customers are associated, sponsored, or affiliated with Panda. Copies of the
                    24 Infringing Domains are attached as Exhibit C.
                    25            18.       Defendant registered the Infringing Domains in bad faith, with actual knowledge of

                    26 Panda’s rights in the PANDA Marks.
                    27            19.       Defendant registered the Infringing Domains without identifying itself as the

LEWIS               28 registrant of the domain names to hide its identity.
BRISBOIS
BISGAARD
& SMITH LLP
                         4837-0163-7863.1                                   10
ATTORNEYS AT LAW                                                         Complaint
                   Case 2:21-cv-03560-AB-AS Document 1 Filed 04/26/21 Page 11 of 15 Page ID #:11




                     1            20.        Additionally, Defendant has used, and continues to use, the Infringing Domains to

                     2 confuse consumers, divert consumers from Panda’s business by directing them to websites
                     3 connected to the Infringing Domains, which offer restaurant services that directly compete with
                     4 Panda’s business.
                     5            21.        Each of the Infringing Domains wholly incorporates and/or uses the dominant

                     6 portion of the PANDA Marks. As such, the Infringing Domains are confusingly similar to the
                     7 PANDA Marks.
                     8            22.        For further evidence that Defendant uses the Infringing Domains to confuse

                     9 consumers and divert them from Panda’s business, one need look only to the landing pages of the
                    10 Infringing Domains. Indeed, URLs from Infringing Domains depict drawings of pandas that are
                    11 strikingly           similar   to    the     Panda       Copyrights:    http://pandagourmet.com/culture,

                    12 http://pandahouseus.com/,                        http://uspandagarden.com/coupon,                   and

                    13 http://uspandagarden2.com/coupon/, (the “Infringing Websites”). Comparisons of the Panda
                    14 Copyrights and the similar drawings featured on the Infringing Websites (the “Infringing Works”)
                    15 are shown below:
                    16                         The Panda Copyrights                           The Infringing Works

                    17
                    18
                    19
                    20
                    21
                    22
                    23
                    24
                    25
                    26
                    27

LEWIS               28
BRISBOIS
BISGAARD
& SMITH LLP
                         4837-0163-7863.1                                     11
ATTORNEYS AT LAW                                                            Complaint
                   Case 2:21-cv-03560-AB-AS Document 1 Filed 04/26/21 Page 12 of 15 Page ID #:12




                     1
                     2
                     3
                     4
                     5
                     6
                     7
                     8
                     9
                    10            23.       Defendant acted with a bad faith intent to profit from its Infringing Domains and use

                    11 of the Infringing Websites.            Moreover, Defendant’s infringement of the PANDA Marks

                    12 demonstrates an intent to divert customers from the Panda Domains for commercial gain.
                    13                                             COUNT ONE
                                                    Anticybersquatting Consumer Protection Act
                    14                                          (15 U.S.C. §1125(d))
                    15            24.       Panda restates the preceding paragraphs as if fully incorporated herein.
                    16            25.       Defendant registered and is using the Infringing Domains in bad faith.
                    17            26.       The PANDA Marks were distinctive at the time of Defendant’s registration of the
                    18 Infringing Domains.
                    19            27.       The Infringing Domains are confusingly similar to the PANDA Marks.
                    20            28.       Panda has a suite of U.S. Trademark Registrations that incorporate the word
                    21 PANDA, including the Panda Marks. Each of these marks (including the PANDA Marks) are used
                    22 in connection with restaurant services, and are registered in classes 42 and 43. In fact, many of the
                    23 PANDA Marks are incontestable.
                    24            29.       Defendant has no bona fide use of any of the domain names included in the Infringing
                    25 Domains.
                    26            30.       Defendant’s intent in registering and using the Infringing Domains was and is to
                    27 divert consumers from the Panda Domains to websites for competing restaurants solely to harm the

LEWIS               28
BRISBOIS
BISGAARD
& SMITH LLP
                         4837-0163-7863.1                                    12
ATTORNEYS AT LAW                                                          Complaint
                   Case 2:21-cv-03560-AB-AS Document 1 Filed 04/26/21 Page 13 of 15 Page ID #:13




                     1 goodwill of the PANDA Marks and Panda for commercial gain by creating a likelihood of confusion
                     2 as to the source, sponsorship, affiliation, or endorsement of the content of the Infringing Domains.
                     3             31.      Defendant is using the Infringing Domains without authorization from Panda and with

                     4 the bad faith intent to mislead and deceive the public.
                     5             32.      Without Panda’s consent, Defendant adopted and used the PANDA Marks in

                     6 interstate commerce, in connection with its online advertising.
                     7             33.      The advertising injury to the Panda arises out of Defendant’s advertising activities.

                     8             34.      The aforesaid actions constitute cyberpiracy in violation of § 43(d) of the Lanham

                     9 Act, 15 U.S.C. § 1125(d).
                    10             35.      Defendant’s unauthorized registration and use of the Infringing Domains has, is, and,

                    11 unless remedied, will continue to cause injury to Panda and the goodwill Panda has built in the
                    12 PANDA Marks and its business reputation.
                    13             36.      Panda has no adequate remedy at law.

                    14                                                    COUNT III
                                                                    Copyright Infringement
                    15                                       (Copyright Act 17 U.S.C. § 101, et seq. )
                    16             37.      Panda incorporates the foregoing paragraphs by reference as though fully set forth
                    17
                         herein.
                    18
                                   38.      Panda owns the Panda Copyrights and has duly registered the same with the United
                    19
                         State Copyright Office.
                    20
                                   39.      Defendant, through the actions described in this Complaint, violated Panda’s
                    21
                    22 exclusive rights in the Panda Copyrights by displaying the Infringing Works. Specifically,
                    23 Defendant had access to the Panda Copyrights and used substantially similar designs (the
                    24 Infringing Works) on the Infringing Websites without permission or authorization from Panda,
                    25
                         and without legal justification of any kind whatsoever.
                    26
                                   40.      Defendant’s actions are and were intentional and willful.
                    27

LEWIS               28
BRISBOIS
BISGAARD
& SMITH LLP
                         4837-0163-7863.1                                    13
ATTORNEYS AT LAW                                                          Complaint
                   Case 2:21-cv-03560-AB-AS Document 1 Filed 04/26/21 Page 14 of 15 Page ID #:14




                     1            41.       Defendant’s acts of copyright infringement were the result of unlawful widespread

                     2 advertising activities to the public designed to promote their businesses to the detriment of Panda.
                     3            42.       Defendant misappropriated Panda’s advertising ideas by promoting designs that are
                     4
                         substantially similar to the Panda Copyrights. Moreover, the advertising injury to Panda arises out
                     5
                         of Defendant’s advertising activities.
                     6
                                  43.       Defendant is still unlawfully displaying the Infringing Works as of the filing of this
                     7
                     8 Complaint.
                     9            44.       Defendant’s acts of copyright infringement have caused damage to Panda in an

                    10 amount to be proved at trial.
                    11                                            PRAYER FOR RELIEF
                    12
                                  WHEREFORE, Panda prays the Court enter judgment in its favor and against Defendant
                    13
                         as follows:
                    14
                                  1.        That the Court find Defendant registered and/or used the Infringing Domains in
                    15
                                            violation of the ACPA and order Defendant to transfer the Infringing Domains to
                    16
                                            Panda and order Defendant to pay Panda $1,000,000 in statutory damages and Panda’s
                    17
                                            attorneys’ fees because of the exceptional nature of this case;
                    18
                                  2.        That the Court permanently restrain and enjoin Defendant, its agents, servants,
                    19
                                            employees, and other persons in active concert with Defendant, from any and all
                    20
                                            further use of any domain name incorporating the word “PANDA”;
                    21
                                  3.        That the Court enter an order directing Defendant to engage in such advertisements
                    22
                                            as reasonably required to correct the misinformation in the marketplace that the
                    23
                                            Infringing Domains are associated with Panda and give notice to all of Defendant’s
                    24
                                            customers that it is not associated with Panda;
                    25
                                  4.        That, pursuant to 15 U.S.C. § 1116, Defendant be directed to file with the Court
                    26
                                            and serve upon Panda within thirty (30) days after issuance of an injunction, a
                    27

LEWIS               28
BRISBOIS
BISGAARD
& SMITH LLP
                         4837-0163-7863.1                                     14
ATTORNEYS AT LAW                                                           Complaint
                   Case 2:21-cv-03560-AB-AS Document 1 Filed 04/26/21 Page 15 of 15 Page ID #:15




                     1                      report in writing and under oath setting forth in detail the manner and form in

                     2                      which Defendant has complied with the injunction;

                     3            5.        That Panda be awarded either: a) Panda’s actual damages and Defendant’s profits,

                     4                      gains or advantages of any kind attributable to Defendant’s infringement of the

                     5                      Panda Copyrights; or b) alternatively, statutory damages of up to $150,000 per

                     6                      copyrighted work infringed pursuant to 17 U.S.C. § 504;

                     7            6.        That Defendant be required to account for all profits, income, receipts, or other

                     8                      benefits derived by Defendant as a result of its unlawful conduct;

                     9            7.        That Plaintiff be awarded its costs, expenses and attorneys’ fees pursuant to 17

                    10                      U.S.C. § 505; and

                    11            8.        That the Court grant Panda such other and further relief as the Court may

                    12                      deem just and proper.

                    13                                          DEMAND FOR JURY TRIAL

                    14            Panda requests a jury trial for all causes of action so triable.

                    15
                    16 DATED: April 26, 2021                           LEWIS BRISBOIS BISGAARD & SMITH LLP

                    17
                    18                                                 By:          /s/ Christopher J. Bakes
                    19                                                       CHRISTOPHER J. BAKES
                                                                             BRYAN P. SUGAR
                    20                                                       WILLIAM W. MAUKE
                                                                             Attorneys for Plaintiff, PANDA RESTAURANT
                    21                                                       GROUP, INC.
                    22
                    23
                    24
                    25
                    26
                    27

LEWIS               28
BRISBOIS
BISGAARD
& SMITH LLP
                         4837-0163-7863.1                                    15
ATTORNEYS AT LAW                                                          Complaint
